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October 20, 2021

Ellen L. Hollander
United States Judge
District of Maryland

RE: James Piccirilli

Your Honor,

Thank you for allowing me the opportunity to present this letter in support of James Piccirilli. His
mother has been my best friend since we met in 1972, so I have known Jim since he was born.

As Jim and his siblings were growing up, I was given the honorary title of “Aunt Mary”. In a lot of
cases, that title falls away as kids grow up, but I was not too long ago introduced to friends of Jim as
“Aunt Mary”, so I feel blessed he still cared enough to still call me that to this day.

As a young man, Jim was always a caring and compassionate person. I remember the time an
acquaintance of his was moving and had custody of two chinchillas. That person was considering just
letting them go in the wild. Jim was so concerned about their safety and was adamant about finding
them a home (which ended up being mine, as I could not I say no to him!). Jim has always been close
to his family, always keeping in close contact with his parents and siblings. He loved being a stepdad,
loves those children as his own, and was so proud to have his own children as well.

Another positive trait passed on from his parents to Jim and his siblings is to always be helpful and
treat people with respect, and I have never seen him fail to do just that. Even dealing with his own
grief at his grandfather’s funeral, Jim took the time and care to step away from his family and offered
his arm to this disabled “aunt” to help me maneuver over the rough terrain to the rest of the group. I
cannot help but think that, through this series of unfortunate events, Jim has already suffered greatly in
the loss of his family, his home, his job and his good name. I fervently hope time served is considered
and he is soon allowed to rebuild his life to continue to be a valuable and productive citizen once
again.

Thank you, Judge Hollander, for taking the time to read this letter and for your consideration of the
whole person of James Piccirilli in your decision.

Sincerely,


Mary E. Hepner
